Case 1:22-cr-00673-LAK Document 91 Filed 02/29/28--Paged of).

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UNITED STATES DISTRICT COURT SE
SOUTHERN DISTRICT OF NEW YORK j DATE g FILED: & 2. Y 2. |
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UNITED STATES OF AMERICA
WAIVER OF INDICTMENT
- ¥Y, -
S4 22 Cr. 673 (LAK)
NISHAD SINGH,
Defendant.
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The above-named defendant, who is accused of violating Title 18, United States
Code, Sections 371, 1343, 1349, 1956, 1957, and 2; Title 7, United States Code, Sections 9(1} and
13(a)(5)}; Title 17, Code of Federal Regulations, Section 180.1; Title 15, United States Code,
Sections 78j(b) and 78ff; Title 17, Code of Federal Regulations, Section 240.10b-5; and Title 52,
United States Code, Sections 30109, 30118, and 30122, being advised of the nature of the charge
and of his rights, hereby waives, in open Court, prosecution by indictment and consents that the

proceeding may be by information instead of by indictment.

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NISHAD SINGH *
Defendant

 

 

   

Andrew Goldstem, Esq.
Counsel for Defendant

 

Date: New York, New York
February 28, 2023

 
